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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 In Re:                                           Case No. 19-05807-RLM-13

 Jewel Anne Grimes
                                                  Chapter 13
   aka Jewel Cheeke

 Debtor.                                          Judge Robyn L. Moberly

                                  NOTICE OF APPEARANCE

          Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.

Bankruptcy Court, Southern District of Indiana, and enters an appearance on behalf of U.S. Bank

Trust National Association, as Trustee of the Chalet Series IV Trust, in the above captioned

proceedings.

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor
Case 19-05807-RLM-13         Doc 12     Filed 09/17/19     EOD 09/17/19 13:32:23         Pg 2 of 2




                                CERTIFICATE OF SERVICE

I certify that on September 17, 2019, a copy of the foregoing Notice was filed electronically.
Notice of this filing will be sent to the following party/parties through the Court’s ECF System.
Party/parties may access this filing through the Court’s system:

       Mark S. Zuckerberg, Debtor’s Counsel
       filings@mszlaw.com

       Ann M. DeLaney, Trustee
       ecfdelaney@trustee13.com

       Office of the U.S. Trustee
       ustpregion10.in.ecf@usdoj.gov

I further certify that on September 17, 2019, a copy of the foregoing Notice was mailed by first-
class U.S. Mail, postage prepaid and properly addressed to the following:

       Jewel Anne Grimes, Debtor
       37 Sleepy Hollow Court
       Westfield, IN 46074

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Attorney for Creditor
